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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

Vv. Criminal No.: 19-10080-NMG

GREGORY COLBURN, ef al.,

Defendants

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GOVERNMENT’S MOTION TO DISMISS
COUNT THREE OF THE FOURTH SUPERSEDING INDICTMENT

The government respectfully moves to dismiss Count Three of the Fourth Superseding
Indictment, charging the remaining defendants with money laundering conspiracy, in violation of
Title 18, United States Code, Section 1956(h).

Respectfully submitted,

NATHANIEL R. MENDELL
Acting United States Attorney

By: /s/ Leslie A. Wright
JUSTIN D. O’CONNELL
KRISTEN A. KEARNEY
LESLIE A. WRIGHT
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Assistant United States Attorneys

CERTIFICATE OF SERVICE
I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

Dated: August 6, 2021 /s/ Leslie A. Wright
LESLIE A. WRIGHT

 

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